

By the Court.

The uniform construction of the statute, on which the proceedings in this case were founded, has confined its operation exclusively to personal demands. The words of the statute plainly show this to have been the intention of the legislature. In the fourth section there is a provision that the determination of the referees may, by consent of the parties, be made known to them prior to its being returned to the court; and, in such case, it is made lawful for the party who may be found indebted, to discharge himself therefrom, by paying the same tó the person to whom it shall be awarded, and having his receipt therefor on the back of the determination, &amp;c.
The proceedings in this case were unauthorized by the statute. The report of the referees was void, and the judgment founded thereon erroneous. It must, therefore, be reversed.
